            Case 7:19-cv-02032-LSC Document 7 Filed 12/19/19 Page 1 of 3                        FILED
                                                                                       2019 Dec-19 PM 12:16
                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION


 ALABAMA, LOUISIANA, SOUTH
 DAKOTA,
                       Plaintiffs,                 Case No. 7:19-cv-2032-LSC

 v.

 DAVID S. FERRIERO, in his official
 capacity as Archivist of the United States,
                                Defendant.

                               JOINT STIPULATION
       1.      Plaintiffs filed their complaint in this case on December 16, 2019.

       2.      The parties are currently discussing how to proceed, including the

possibility that Plaintiffs will seek a preliminary injunction or other emergency relief.

       3.      The Archivist of the United States has confirmed that he will not make

any certification in accordance with his authority under 1 U.S.C. §106b concerning

ratification of the Equal Rights Amendment before February 15, 2020.

       4.      Plaintiffs have not yet effected service of their complaint, so Defendant’s

sixty-day response time has not yet begun to run. The parties will continue to meet and

confer about the appropriate next steps in this litigation and will provide a joint status

report on or before Defendant’s answer date.
        Case 7:19-cv-02032-LSC Document 7 Filed 12/19/19 Page 2 of 3




Dated: December 19, 2019                   Respectfully submitted,

For Plaintiffs:

STEVE MARSHALL
Attorney General of Alabama

 /s/ Edmund G. LaCour Jr.                   /s/ Patrick Strawbridge T
Edmund G. LaCour Jr.                       Patrick Strawbridge
Solicitor General                          CONSOVOY MCCARTHY PLLC
James W. Davis                             Ten Post Office Square
Deputy Attorney General                    8th Floor South PMB #706
A. Barrett Bowdre                          Boston, MA 02109
Deputy Solicitor General                   (703) 243-9423
Kelsey J. Curtis                           patrick@consovoymccarthy.com
Assistant Solicitor General
                                           Cameron T. Norris
OFFICE OF THE ALABAMA ATTORNEY
                                           Alexa R. Baltes
GENERAL
                                           Tiffany H. Bates
501 Washington Ave.
                                           CONSOVOY MCCARTHY PLLC
P.O. Box 300152
                                           1600 Wilson Blvd., Ste. 700
Montgomery, AL 36130
                                           Arlington, VA 22209
(334) 353-2196
                                           (703) 243-9423
(334) 353-8400 (fax)
                                           cam@consovoymccarthy.com
edmund.lacour@AlabamaAG.gov
                                           lexi@consovoymccarthy.com
jim.davis@AlabamaAG.gov
                                           tiffany@consovoymccarthy.com
barrett.bowdre@AlabamaAG.gov
kelsey.curtis@AlabamaAG.gov

JEFF LANDRY                                JASON RAVNSBORG
Attorney General of Louisiana              Attorney General of South Dakota
 /s/ Elizabeth B. Murrill                   /s/ Paul S. Swedlund
Elizabeth B. Murrill (pro hac vice         Paul S. Swedlund
forthcoming)                               Assistant Attorney General
Solicitor General of Louisiana             OFFICE OF THE ATTORNEY GENERAL
LOUISIANA DEPARTMENT OF                    STATE OF SOUTH DAKOTA
JUSTICE                                    1302 East Highway 14, Suite 1
1885 N. 3rd St.                            Pierre, South Dakota 57501-8501
Baton Rouge, LA 70802                      605-773-3215
(225) 326-6766                             paul.swedlund@state.sd.us
MurrillE@ag.louisiana.gov


                                     2
       Case 7:19-cv-02032-LSC Document 7 Filed 12/19/19 Page 3 of 3




For Defendant:

JOSEPH H. HUNT
Assistant Attorney General

JAMES BURNHAM
Deputy Assistant Attorney General

JOHN GRIFFITHS
Director, Federal Programs Branch

   /s/ Eric Womack
ERIC WOMACK
Assistant Director
U.S. Department of Justice
Civil Division
Federal Programs Branch
1100 L Street, NW
Washington, D.C. 20005
Telephone: (202) 514 4020
Fax: (202) 616 8460

Email: eric.womack@usdoj.gov




                                    3
